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             SPRINGFIELD      NEWS      POLITICS




           Pot equity bill paving way for 185
           new dispensaries heads to
           Pritzker’s desk
           State senators passed the bill in a 50 to 3 vote, and the governor announced he would sign
           the legislation, which attempts to fix Illinois’ recreational cannabis law to bring in more
           diversity to the cannabis industry.
           By Rachel Hinton and Tom Schuba          Updated May 28, 2021, 7:02pm CDT




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          State Rep. La Shawn Ford claps as former state Sen. Ricky Hendon speaks during a press conference outside Nature’s
          Care West Loop in the West Town neighborhood, where cannabis equity advocates announced the introduction of House
          Bill 327, Tuesday morning, March 16, 2021. | Pat Nabong/Sun-Times, Pat Nabong/Sun-Times




           SPRINGFIELD — State legislators on Friday passed a long-sought bill aimed at
           ensuring better racial diversity in the state’s cannabis licensing process.

           State senators passed the House bill in a 50 to 3 vote Friday afternoon, sending the
           measure to Gov. J.B. Pritzker, who later announced he planned to sign it.

           The legislation, sponsored by Senate Majority Leader Kimberly Lightford,
           D-Maywood, attempts to fix Illinois’ recreational cannabis law, creating two additional
           lotteries of 110 total adult-use license dispensaries “for people who are social equity
           applicants — i.e. from a Black or Brown community,” according to a news release
           announcing the passage of the bill. In addition, those applicants won’t be subject to
           rules requiring dispensaries be located at least 1,500 feet apart.

           “Existing dispensary owners, all non-minorities, have already taken many of the prime
           locations in the state,” Lightford said in a statement. “Dispensary owners from
           disadvantaged communities deserve a fair chance to make a profit by having access to
           lucrative business locations and not being locked out by distance requirements.”

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           Ex-pot regulator, now on Cook County Bd., o�ered paid help to weed shop
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           Those additional lotteries will be broken in two and consist of 55 licenses each round.

           One of those lotteries will be open to social equity applicants who previously received
           85% of a total of 250 points on the state’s scoring scale. For the other lottery, much of
           the same criteria applies, but applicants will need to meet the definition of “Social



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           Equity Justice Involved” status, meaning priority will be given to those who live in an
           area “disproportionately impacted” by the drug war or who have past arrests for
           cannabis-related offenses.

           Rickey Hendon, a former state senator who led protests after he and hundreds of
           others lost out in the process to win dispensary licenses, on Friday lauded the bill’s
           passage, saying the move brings the state one step closer to diversifying its lily-white
           cannabis industry.

           “It’s a great day for the citizens of Illinois, especially the African Americans and
           Latinos who are trying to get a part of this [potential] $2 billion industry,” said
           Hendon, who helped craft the bill with Rep. La Shawn Ford, D-Chicago, the sponsor of
           the House version of the legislation. “I’m just happy that at least we have a chance.”

           The lotteries for the 110 new licenses will be in addition to a lottery for 75 licenses that
           were supposed to be released last May. That batch of licenses was delayed due to
           litigation and complaints surrounding the state’s scoring system that saw many
           clouted and industry insiders getting the top marks. With the new bill’s passage
           Friday, the lottery for 75 licenses can move forward.

           The bill’s passage could snuff out what has been a smoldering political embarrassment
           for Pritzker, who made legalization of recreational marijuana a major campaign plank
           when he ran for governor in 2018. Clearly welcoming the revenue it would bring, the
           Chicago Democrat instead focused his campaign arguments on the social equity
           aspects of legalization, both in terms of providing an economic boom and criminal
           justice reforms for communities of color.

           “Equity is at the core of cannabis legalization in Illinois, and this essential legislation
           will accelerate our collective vision to make sure that the communities harmed the
           most by the war on drugs can participate in this industry as it grows,” Pritzker tweeted
           Friday evening.

           Rep. Ford said Friday that the “odds of Black or Brown majority ownership is greatly
           increased” now that the bill passed. But, he said, the state has to act quickly.



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           “The longer we wait, the more millions the current dispensary owners make, and they
           continue to leave the minorities behind,” he said.

           He lauded social equity applicants like Hendon for fighting to fix the problems of the
           original legalization law.

           “Because they didn’t give up, we have a really good chance of getting diversity,” he
           said.

           Hendon also encouraged Pritzker to direct state officials to “move the lotteries right
           away so the Blacks and Latinos and the white people who deserve it can be in business
           before the year is out.”

           Meanwhile, other social equity applicants remained skeptical about how the licensing
           process has played out and what will happen next.

           Michael Malcolm, a cannabis consultant from Morgan Park, said he has serious
           concerns about how the additional lotteries were set up and the state’s continued
           failure to issue craft cultivation licenses that are also prioritized to social equity
           hopefuls.

           “I’m happy to have another shot but after watching the General Assembly hearings
           and seeing how some of the legislators don’t even understand the issues of the
           applicants, I don’t have much confidence in the process,” Malcolm said.




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